Case 2:18-cv-04379-JS Document 48 Filed 08/14/19 Page 1 of 1

IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF PENNSYLVANIA

 

NORTHEAST INDUSTRIES LLC and
JOSEPH DELUCA,

Plaintiffs,
Vv.

ON TARGET LABORATORIES LLC, ON

TARGET LABORATORIES INC., and
MARTIN LOW

Defendants.

 

NO. 2:18-CV-04379-JS

STIPULATION AND ORDER

Plaintiffs, Northeast Industries LLC and Joseph DeLuca, and Defendants, On Target

Laboratories LLC, On Target Laboratories Inc, and Martin Low (collectively, the “Parties”), by

and through their undersigned counsel, who are duly authorized to enter this Stipulation, hereby

agree pursuant to Federal Rule of Civil Procedure 41, to dismiss with prejudice all claims

asserted by and among each of them and all of them in the above-captioned matter, and to

dismiss with prejudice the above-captioned matter in its entirety. Each Party shall bear its own

costs and fees.

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On Target Laboratories LLC; On Target
Laboratories Inc,; and Martin Low

 

Dated: il Hl 4

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Attorneys for Plaintiffs

Northeast Industries LLC and Joseph DeLuca

Dated: sn/4

IT IS SO ORDERED:

 
